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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            McALLEN DIVISION

NEW LIFE ADULT DAY CARE                       §
                                              §
VS.                                           §       CIVIL NO. 7:17-cv-361
                                              §
PHILADELPHIA INDEMNITY                        §
INSURANCE COMPANY                             §

                                   on Removal from:

                              CAUSE NO. C-4098-17-D

NEW LIFE ADULT DAY CARE                       §   IN THE DISTRICT COURT
                                              §
VS.                                           §   HIDALGO COUNTY, TEXAS
                                              §
PHILADELPHIA INDEMNITY                        §
INSURANCE COMPANY                             §   206TH JUDICIAL DISTRICT

                                      EXHIBIT 5
                         Documents Filed in State Court

                                        Index
              Document                                            Filed
         A    Plaintiff’s Original Petition                      8/31/17
         B    Defendant’s Original Answer                        9/21/17
         C    Defendant’s Notice of Removal to Federal Court     9/21/17




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